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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 OPTIS WIRELESS TECHNOLOGY, LLC,                   §
 OPTIS CELLULAR TECHNOLOGY, LLC,                   §
 PANOPTIS PATENT MANAGEMENT,                       §
 LLC, UNWIRED PLANET, LLC,                         §
 UNWIRED PLANET INTERNATIONAL                      §
 LIMITED,                                          §
                                                   §
                                                   §
                Plaintiffs,                        §
                                                   §
 v.                                                §     CIVIL ACTION NO. 2:19-CV-00066-JRG
                                                   §
 APPLE INC.,                                       §
                                                   §
                Defendant.                         §

                                             ORDER
       The Court notes that Dkt. No. 740 has been filed under SEAL by the Clerk in this case.

However, in light of the public’s interest in accessing judicial records, the Court believes that any

asserted confidential information contained within limited portions of a judicial record does

not justify maintaining the entire document under seal indefinitely. The parties are therefore

ORDERED to meet and confer within ten (10) days of the date of the present Order and file a

notice with the Court, wherein the parties shall submit proposed redactions to Dkt. No. 740. In

areas where the parties might disagree, the parties shall specify which portion(s) of the Order

they disagree upon with a brief and targeted explanation supporting each contested redaction.

Upon receipt of such notice, the Court will make the redactions it determines to be

appropriate, and then proceed to enter a public/redacted version of Dkt. No. 740 in the record

of this case, which Order shall be publicly available.
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  So ORDERED and SIGNED this 18th day of May, 2022.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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